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                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OHIO


CLEVELAND BROWNS FOOTBALL
COMPANY LLC,                                     Case No. 1:24-CV-01857-DAR

CLEVELAND BROWNS STADIUM                         Judge David A. Ruiz
COMPANY LLC,

HASLAM SPORTS GROUP, LLC,

JHAC, LLC,

Plaintiffs,

vs.

THE CITY OF CLEVELAND,

MARK D. GRIFFIN, in his official capacity,

Defendants,

THE STATE OF OHIO,

Intervenor-Defendant.




                 MOTION REGARDING PROPER PROCEDURE FOR
                      DETERMINATION OF MOOTNESS
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                                         INTRODUCTION
                                         INTRODUCTION

        This action is currently stayed until further order of the Court upon defendant City of

Cleveland’s
Cleveland's motion to "hold
            motion to “hold deadlines in abeyance,”
                            deadlines in abeyance," based on its assertion that this action is moot.

Mot. (Doc. 51) at 1. The Court declined, however, to condition any lifting of the stay on the

condition
condition proposed by the
          proposed by the City: the Browns'
                          City: the Browns’ showing that the action continues to present a live

controversy. The Court was right to do so.

        As the party claiming mootness, it is the City who bears the burden of establishing

mootness. And the City did not even attempt to carry that burden—for good reason. Although

the City claims that the Modell Law amendment mooted this action, the City has not withdrawn

its state court suit seeking to enforce the original statute against the Browns. Nor has the City

otherwise conclusively conceded that it no longer has any claim under the original statute. To the

contrary, the City has told the state court that the temporary stay of this action supports further
                                                                                             further

litigation in the state court. In other words, the City takes the cynical position that while its suit to

enforce the original
enforce the          Modell Law
            original Modell Law against
                                against the
                                        the Browns
                                            Browns is
                                                   is not
                                                      not moot, the Browns'
                                                          moot, the Browns’ suit
                                                                            suit challenging the
                                                                                 challenging the

City’s
City's enforcement
       enforcement of the Modell
                   of the Modell Law
                                 Law is.
                                     is.

        Under long-standing authority, the proper vehicle for raising a mootness objection is a Rule

12(b)(1) motion to dismiss the complaint. And a defendant is not automatically entitled to a stay

pending the resolution of a Rule 12 dismissal motion. The Browns accordingly request that the

City be required to promptly raise its mootness objection in a Rule 12(b)(1) motion or abandon it.

And the Browns also request that any further stay be ordered only if the City moves for a stay

pending disposition of that motion and if it is determined, following an opportunity for the Browns

to be heard, that the City has satisfied the standard for imposing such a stay.
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                                       BACKGROUND
                                       BACKGROUND

        In April 2024, the Browns presented the City with a proposal for a stadium in Brook Park,

less than a mile from the City line, to be their new home after their current lease of Huntington

Bank Field expires in February 2029. Compl. (Doc. 41) ¶ 60. The City responded by passing

                              “direct[ing]” its
Emergency Ordinance 391-2024, "direct[ing]" its lawyers to "fully
                                                lawyers to “fully enforce” R.C. 9.67—the
                                                                  enforce" R.C. 9.67—the

       Law—“to keep
Modell Law—"to      the Cleveland
               keep the           Browns in
                        Cleveland Browns    the City
                                         in the City of
                                                     of Cleveland”
                                                        Cleveland" and bar their
                                                                   and bar their eventual
                                                                                 eventual

move to a new stadium in Brook Park. Id. 1163.
                                         ¶ 63.

        After months of enforcement threats by the City, the Browns brought this action, claiming

that the
that the City’s
         City's enforcement
                enforcement of the Modell
                            of the Modell Law
                                          Law against them would
                                              against them would violate
                                                                 violate the
                                                                         the U.S.
                                                                             U.S. Constitution.
                                                                                  Constitution.

Several months later, the City made good on its threat. The City brought suit in the Cuyahoga

County Common Pleas Court, claiming that the Browns were in present violation of the Modell

Law (Count I), that the Browns were also in breach of their stadium lease agreement because it

effectively incorporated the provisions of the Modell Law and required compliance with the

statute’s terms (Count II), and seeking declaratory and injunctive relief (Count III), as well as
statute's terms

damages. Litigation has since proceeded in both this Court and the Common Pleas Court.

        Then, on June 27, the City moved to stay this case, invoking a proposed amendment to the

Modell Law, expected to be signed into law by the Governor on June 30 as part of the biennial

state budget. Mot. ¶¶ 1-2; see H.B. 96, 136th Gen. Assemb., Reg. Sess., at 35-36 (Ohio 2025),

https://www.legislature.ohio.gov/legislation/136/hb96. The City described the amendment as

“rewrit[ing] the Modell Law to expressly state what the Browns have argued the statute means,
"rewrit[ing]

contrary to its
contrary to its existing text.” Mot. ¶ 1. Among other things, the amendment provides that the
                existing text."

Modell Law does not apply to a sports team’s move
                               sports team's      to another
                                             move to another stadium within the
                                                             stadium within the state. See H.B.

96, at 35.




                                                 2
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       As the City anticipated, the budget was signed into law on June 30. The budget legislation

included the Modell Law amendment and the authorization of a $600 million performance grant

for the Brook Park stadium project. The next day, July 1, the City informed the Common Pleas

                                “stayed indefinitely"
Court that this action had been "stayed indefinitely” and argued that
                                                      and argued that it is "now"
                                                                      it is “now” "obvious"
                                                                                  “obvious” that
                                                                                            that its

        the Common
suit in the        Pleas Court
            Common Pleas       “is the
                         Court "is the only way to
                                       only way to resolve the claims
                                                   resolve the        between these parties.”
                                                               claims between       parties." Ex.

A (Notice of Stay of Federal Court Action, City of
                                                of Cleveland v. Haslam Sports Grp., LLC, No.

CV-25-110189) at 2.

                                          ARGUMENT
                                          ARGUMENT

       The
       The City’s
           City's stay
                  stay motion
                       motion contends that the
                              contends that the Browns
                                                Browns are
                                                       are obligated to either voluntarily dismiss
                                                           obligated to

this action
this action or “explain” why it is not mooted by the amendment of the Modell Law. Mot. ¶¶ 3-4.
            or "explain"

That is plainly wrong, as longstanding authority of the Sixth Circuit and the U.S. Supreme Court

demonstrates. It is the City who bears the burden of proving—not the Browns who bear the burden

of disproving—the City’s assertion that
                  City's assertion that this
                                        this action
                                             action is
                                                    is moot. “The heavy
                                                       moot. "The       burden of
                                                                  heavy burden of demonstrating
                                                                                  demonstrating

mootness rests on the party claiming mootness.”
                                     mootness." Sullivan v. Benningfield, 920 F.3d 401, 410 (6th

Cir. 2019) (quoting Cleveland Branch, N.A.A.C.P. v. City of
                                                         of Parma, 263 F.3d 513, 531 (6th Cir.

                 W. Virginia v. EPA, 597
2001)); see also W.                      U.S. 697,
                                     597 U.S. 697, 719 (2022) ("[T]he
                                                   719 (2022) (“[T]he Government, not

petitioners, bears the burden to establish that a once-live case
                                                            case has become moot.”).
                                                                 has become moot.").

       That is not
       That is     the only
               not the      way the
                       only way the City’s
                                    City's motion gets well-settled
                                           motion gets well-settled law wrong. A party does not

properly raise a claim of mootness by moving for a stay and then throwing the issue to its

                               “[M]ootness is
opponent—as the City did here. "[M]ootness is aa jurisdictional
                                                 jurisdictional question.”
                                                                question." In Re Flint Water

                                              as this
Cases, 63 F.4th 486, 497 (6th Cir. 2023). So, as this Court
                                                      Court has
                                                            has recognized, “a motion
                                                                recognized, "a        to dismiss
                                                                               motion to dismiss

for mootness is properly brought pursuant to Fed. Rule Civ. P. 12(b)(1).”
                                                               12(b)(1)." City of
                                                                               of Streetsboro v.

Fraternal Ord. of
               of Police, 2004 WL 3710234, at *2 (N.D. Ohio July 23, 2004). And a Rule 12(b)(1)




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       “challenging the
motion "challenging the court’s jurisdiction”—the motion the City should have brought—"may
                        court's jurisdiction"—the                             brought—“may

be filed
be filed at
         at any time.” Perna v. Health One Credit Union, 983 F.3d 258, 274 (6th Cir. 2020) (citing
            any time."

Fed. R. Civ. P. 12(b)(1), (h)(3)).

       The
       The City’s
           City's motion
                  motion suggests that aa mootness
                         suggests that    mootness determination
                                                   determination is
                                                                 is nothing but aa formality
                                                                    nothing but    formality

because the
because the Modell
            Modell Law
                   Law amendment
                       amendment necessarily moots the
                                 necessarily moots the Browns'
                                                       Browns’ claims.
                                                               claims. On this point as well,

the City is mistaken. It is true
                      It is true that
                                 that "[r]epeal
                                      “[r]epeal of
                                                of aa challenged
                                                      challenged law
                                                                 law can,
                                                                     can, in some cases, render a case

or
or controversy moot.” Sullivan, 920 F.3d at 410 (citing Ky. Right to Life, Inc. v. Terry, 108 F.3d
   controversy moot."

                           “[B]ut a case or
637, 644 (6th Cir. 1997)). "[B]ut        or controversy
                                            controversy ‘does
                                                        `does not
                                                              not cease to exist
                                                                  cease to exist merely by virtue
                                                                                 merely by virtue

of
of aa change
      change in the applicable
             in the            law.’” Id. at 410-11 (quoting Hamilton Cnty. Educ.
                    applicable law.'                                        Educ. Ass
                                                                                  Ass’n
                                                                                      'n v. Hamilton

Cnty. Bd. of                                                City’s own
          of Educ., 822 F.3d 831, 835 (6th Cir. 2016)). The City's own authority
                                                                       authority proves the point.
                                                                                 proves the point.

            Media Prop., L.L.C. v. Symmes Twp., 503 F.3d 456, 461 (6th Cir. 2007) (rejecting
See Midwest Media

contention that action was mooted by the amendment of challenged township regulations).

       Mootness thus does not hinge on whether the challenged law has been amended or

          “Ultimately, the
repealed. "Ultimately, the test
                           test for
                                for mootness
                                    mootness is
                                             is whether
                                                whether the
                                                        the relief
                                                            relief sought would, if
                                                                   sought would, if granted,
                                                                                    granted, make
                                                                                             make

aa difference to the
   difference to the legal
                     legal interests
                           interests of the parties.”
                                     of the parties." Sullivan, 920 F.3d at 410 (internal quotation

marks omitted). Accordingly, “where the
                Accordingly, "where the changes
                                        changes in the law
                                                in the     arguably do
                                                       law arguably do not
                                                                       not remove the harm
                                                                           remove the harm or
                                                                                           or

threatened harm underlying the dispute, the case remains alive and suitable for judicial

determination.”
determination." Id. at 410-11 (internal quotation marks and alterations omitted).

       That is the
       That is the situation
                   situation here.
                             here. The “harm or
                                   The "harm or threatened
                                                threatened harm underlying the
                                                           harm underlying the dispute” is the
                                                                               dispute" is the

City’s active effort
City's active        to enforce
              effort to         the Modell
                        enforce the Modell Law
                                           Law against the Browns.
                                               against the Browns. Id. The amendment does not

eliminate that harm because the City continues to prosecute its enforcement suit in state court—

the very conduct that the Browns challenge as unlawful in this action. And the City has neither

acted, nor indicated any intention, to cease its effort to enforce the Modell Law and dismiss that




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      Far from
suit. Far from ceding any claim
               ceding any       under the
                          claim under the prior version of
                                          prior version    the Modell
                                                        of the Modell Law,
                                                                      Law, the
                                                                           the City’s
                                                                               City's motion

        the City’s
reveals the        intent to
            City's intent to pursue
                             pursue such
                                    such claims.                                              “the
                                         claims. The City expressly argues in its motion that "the

applicability”
applicability" of the amended
               of the amended Modell
                              Modell Law
                                     Law "to
                                         “to this
                                             this ongoing
                                                  ongoing dispute will turn
                                                          dispute will turn on” issues such
                                                                            on" issues such as
                                                                                            as

“retroactivity.” Mot. ¶ 2. And the City has told the state court that it is "now"
"retroactivity."                                                            “now” even
                                                                                  even more “obvious”
                                                                                       more "obvious"

its suit there should proceed. Ex. A at 2.

       As the Sixth
       As the       Circuit has
              Sixth Circuit has explained, “before voluntary
                                explained, "before voluntary cessation
                                                             cessation of
                                                                       of aa practice
                                                                             practice could
                                                                                      could ever
                                                                                            ever

moot a claim, the challenged practice must have actually ceased."
                                                         ceased.” Sullivan, 920 F.3d at 411

(emphasis in original). Here the challenged practice—the City’s unlawful enforcement
                                                         City's unlawful enforcement of the
                                                                                     of the

Modell Law—has not ceased. So the harm threatened by its unlawful enforcement has not ceased

either. To the contrary, the City persists in its efforts to enforce the statute by pursuing its claims

in the Common Pleas Court—the same claims it calls moot in this Court. The
                                                                       The City’s
                                                                           City's continued
                                                                                  continued

efforts to enforce the Modell Law establish that the Browns need the relief they seek now just as

much as they did before the amendment. See id. (reversing determination of mootness because,

                                          the government
regardless of passage of new legislation, the government defendants “did not
                                                         defendants "did     in fact
                                                                         not in fact cease their
                                                                                     cease their

challenged
challenged conduct”);
           conduct"); 13C Charles Alan Wright et al., Federal Practice and Procedure § 3533.6

              (“expiration” of
(3d ed. 1998) ("expiration" of aa statute “does not
                                  statute "does not moot
                                                    moot questions
                                                         questions arising from continuing
                                                                   arising from

enforcement”).
enforcement").

       The Browns do not just need relief at some point—they need it soon. The Browns brought

this suit last year, in 2024, because obtaining the financing and approvals necessary to develop a

new stadium in Brook Park, let alone the construction itself, will take years. Prompt resolution of

the Browns'
the Browns’ claims
            claims is
                   is critical because the
                      critical because the Browns
                                           Browns must
                                                  must take
                                                       take action
                                                            action now to have
                                                                   now to have any
                                                                               any hope
                                                                                   hope of
                                                                                        of

building a new stadium in Brook Park by the time their current lease expires and before the 2029

NFL season begins.




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       For these reasons, a lengthy stay of these proceedings as
                                                              as aa result
                                                                    result of the City’s
                                                                           of the City's motion would

                None of
be unjustified. None    the City's
                     of the City’s authorities
                                   authorities support the stay
                                               support the stay it
                                                                it sought—a
                                                                   sought—a stay pending the

counterparty’s
counterparty's showing
               showing of
                       of non-mootness.
                          non-mootness.11 To the contrary,
                                          To the contrary, courts “frequently .. .. .. den[y]
                                                           courts "frequently          den[y] stays
                                                                                              stays of
                                                                                                    of

discovery
discovery in the face
          in the face of
                      of motions to dismiss
                         motions to         for lack
                                    dismiss for lack of
                                                     of subject matter jurisdiction."
                                                        subject matter jurisdiction.” Reynolds v.

Air Line
Air Line Pilots
         Pilots Ass'n
                Ass’n Int'l,
                      Int’l, 2024 WL 4277817, at *3 (S.D. Ohio Sept. 24, 2024) (stay "typically"
                                                                                     “typically”

denied unless "the
denied unless “the jurisdictional
                   jurisdictional issue is ‘clear
                                  issue is `clear cut’”);
                                                  cut"); 8A Charles Alan Wright et al., Federal

Practice & Procedure §§ 2037
                        2037 ("[C]ourts
                             (“[C]ourts do
                                        do not
                                           not automatically
                                               automatically grant
                                                             grant such
                                                                   such [stay]
                                                                        [stay] requests and
                                                                               requests and

instead may determine whether the moving party has demonstrated a likelihood of success on its

motion to dismiss.”).
motion to dismiss.").

       Here, the City has not even moved to dismiss the complaint based on mootness, let alone

moved to stay the case pending the disposition of that motion. In this posture, a defendant is not

entitled to a stay of the action. In OutMemphis v. Lee, 2024 WL 2138625 (W.D. Tenn. May 13,

2024), for instance, the defendants moved to stay the case on the ground that the challenged law

had been amended during the pendency of the litigation. The court denied the stay, ruling that

“[t]he question
"[t]he question of whether” the
                of whether" the statutory
                                statutory amendment “moot[s] [plaintiff's]
                                          amendment "moot[s] [plaintiff’s] claims
                                                                           claims can
                                                                                  can and
                                                                                      and should
                                                                                          should

be addressed in Motions to Dismiss at the appropriate
                                   at the             time.” Id. at *3. The same is true here.
                                          appropriate time."

                                          CONCLUSION
                                          CONCLUSION

       For the foregoing reasons, the Browns request that the City be required to promptly raise

its mootness objection in a Rule 12(b)(1) motion or abandon it, and that any further stay be ordered

only if the City moves for a stay pending disposition of that motion and if it is determined,



1
1 The only decision the City cited that concerned mootness does not justify any stay of these district
court proceedings. In Potomac Electric Power Co. v. Leavitt, 142 F. App’x
                                                                        App'x 154
                                                                               154 (4th Cir. 2005),
a litigant moved to dismiss an appeal as moot and the Fourth Circuit ordered the motion held in
abeyance until the district court could make an initial mootness determination that addressed any
relevant factual disputes.


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following an opportunity for the Browns to be heard, that the City has satisfied the standard for

imposing such a stay.


                                                Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was filed electronically on July 10, 2025, and

counsel
counsel of
        of record will receive
           record will receive aa notice
                                  notice of filing through
                                         of filing through the
                                                           the Court’s
                                                               Court's electronic filing system
                                                                       electronic filing        in
                                                                                         system in

accordance with Fed.
accordance with Fed. R.
                     R. Civ. P. 5(b)(2)(E)
                        Civ. P.            and this
                                5(b)(2)(E) and this Court’s Local Rules.
                                                    Court's Local Rules.

                                                            /s/ Anthony C. White
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                                                            One of
                                                                of the Attorneysfor
                                                                                 for Plaintiff
                                                                                     Plaintiff
